                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                    AT CHATTANOOGA

 UNITED STATES OF AMERICA                      )      COLLIER/CARTER
                                               )
        v.                                     )      CASE NO. 1:10-CR-59
                                               )
 TORIQ QUINN JOHNSON                           )

                                             ORDER

        On November 17, 2010, Magistrate Judge William B. Mitchell Carter filed a Report and

 Recommendation recommending (a) the Court accept Defendant’s plea of guilty to Count One of

 the Indictment, conspiracy to distribute and possess with the intent to distribute one hundred (100)

 kilograms or more of a mixture and substance containing marijuana, a Schedule I controlled

 substance, in violation of Title 21, U.S.C. §§ 846 and 841(b)(1)(B), in exchange for the undertakings

 made by the government in the written plea agreement; (b) the Court adjudicate Defendant guilty

 of the charges set forth in Count One of the Indictment; (c) that a decision on whether to accept the

 plea agreement be deferred until sentencing; and (d) Defendant shall remain in custody pending

 sentencing in this matter (Court File No. 117). Neither party filed an objection within the given

 fourteen days. After reviewing the record, the Court agrees with the magistrate judge’s report and

 recommendation. Accordingly, the Court ACCEPTS and ADOPTS the magistrate judge’s report

 and recommendation pursuant to 28 U.S.C. § 636(b)(1) and ORDERS as follows:

        (1) Defendant’s plea of guilty to Count One of the Indictment, in exchange for the

 undertakings made by the government in the written plea agreement, is ACCEPTED;

        (2) Defendant is hereby ADJUDGED guilty of the charges set forth in Count One of the

 Indictment;

        (3) A decision on whether to accept the plea agreement is DEFERRED until sentencing; and




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        (4) Defendant SHALL REMAIN IN CUSTODY pending sentencing on Thursday, March

 31, 2011, at 9:00 a.m.

        SO ORDERED.

        ENTER:


                                       /s/
                                       CURTIS L. COLLIER
                                       CHIEF UNITED STATES DISTRICT JUDGE




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